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         Exhibit 3
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                                                Form C-1
                         (For the Request from the United States of America)
                                 Certificate regarding the items seized

I, Tsuyoshi Miyazaki, give the following statement under the acknowledgement that I may be criminally
penalized if a false statement is given in this certificate.

   1. My position within this office within Japan is that of Public Prosecutor’s Assistant Officer.

   1. I received the items listed in 3 on July 19, 2019 from Trustee, Attorney Nobuaki Kobayashi at the
      Nagashima Ohno &Tsunematsu Legal Office in the JP Tower at Marunouchi 2-7-2, Chiyoda-Ku,
      Tokyo; the storage of items was started, and the storage was concluded with the items in the
      same condition as they were at the time the storage was started (in the case there is a
      difference, in the condition indicated in 4) by handing them over to Public Prosecutor’s Assistant
      Officer Masanao Tsumura at the Tokyo District Prosecutors Office at Kasumigaseki 1-1-1,
      Chiyoda-ku, Tokyo on July 19, 2019.

   2. Indication regarding the case

       Hard disk (Manufactured by HGST, Model number 0F19847, Capacity 4TB, serial number
       LAGRN21H) 1 unit

   3. Change of condition during the period in which I stored the items


                                                                         Tsuyoshi Miyazaki
                                                                            (Signature)
                                                               Public Prosecutor’s Assistant Officer
                                                                        (Government Post)
                                                                Tokyo District Prosecutors Office
                                                                             (Location)
                                                                          August 28, 2019
                                                                          (Date and Year)
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                                                Form C-1
                         (For the Request from the United States of America)
                                 Certificate regarding the items seized

I, Masanao Tsumura, give the following statement underacknowledgement that I may be criminally
penalized if a false statement is given in this certificate.

   2. My position within this office within Japan is that of Public Prosecutor’s Assistant Officer.

   3. I received the items listed in 3 on July 19, 2019 from Public Prosecutor’s Assistant Officer
      Tsuyoshi Miyazaki at the Tokyo District Prosecutors Office at Kasumigaseki 1-1-1, Chiyoda-ku,
      Tokyo; the storage of items was started, and the storage was concluded with the items in the
      same condition as they were at the time the storage was started (in the case there is a
      difference, in the condition indicated in 4) by handing them over to Public Prosecutor’s Assistant
      Officer Tsuyoshi Miyazaki at the Tokyo District Prosecutors Office at Kasumigaseki 1-1-1,
      Chiyoda-ku, Tokyo on July 24, 2019.

   4. Indication regarding the case

       Hard disk (Manufactured by HGST, Model number 0F19847, Capacity 4TB, serial number
       LAGRN21H) 1 unit

   5. Change of condition during the period in which I stored the items
      I connected the item indicated in 3 to the work station for the task on July 22, 2019 and July 23,
      2019 through a writing prevention device and created the image file copying all areas (image file
      name “flimg.E01”)utilizing the forensic software “Access Data FTK Imager (version 4.2.1.4).”
      I confirmed that the hash value of the item indicated in 3 confirmed before the creation of the
      said image file was the same as the hash value of the same image file. The hash value confirmed
      is as follows.


                                                                        (MD5 hash)
